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 1   CORE X LEGAL P.A.
     Curtis E. Smolar
 2
     450 Townsend Street, Suite 207
 3   San Francisco, CA 94107
     Telephone: (415) 364-8435
 4   Email: Curtis@corexlegal.com
 5   STANTON IP LAW FIRM, P.A.
 6   Thomas H. Stanton (admitted phv)
     201 E. Kennedy Blvd., Suite 1900
 7   Tampa, FL 33602
     Telephone: (813) 421-3883
 8   Email: tstanton@stantoniplaw.com
 9    Attorneys for Plaintiff UberRE, Inc
10                               UNITED STATES DISTRICT COURT
11                           NORTHERN DISTRICT OF CALIFORNIA
12
      UBERRE INC.,
13
                        Plaintiff,            Case No. 3:22-cv-02806-JD
14
      v.                                      STIPULATED DISMISSAL WITH
15                                            PREJUDICE
      UBER TECHNOLOGIES, INC.
16
                        Defendant.
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                                                       STIPULATED DISMISSAL WITH PREJUDICE
     Case No. 3:22-cv-02806-JD                 1
        Case 3:22-cv-02806-JD Document 46 Filed 08/25/22 Page 2 of 4



 1
            Plaintiff UberRE, Inc. and Defendant Uber Technologies, Inc., (collectively, the “Parties”),
 2
     by and through their respective undersigned counsel of record, hereby stipulate and agree that the
 3
     above-styled lawsuit be dismissed with prejudice and each of the Parties shall bear its own costs,
 4
     expenses and attorneys’ fees in this action.
 5
            Dated: August 25, 2022                        CORE X LEGAL P.A.
 6
 7                                                        By: /s/
                                                          Curtis E. Smolar
 8                                                        450 Townsend Street, Suite 207
                                                          San Francisco, CA 94107
 9                                                        Telephone: (415) 364-8435
10                                                        Email: Curtis@corexlegal.com

11                                                        STANTON IP LAW FIRM, P.A.
                                                          Thomas H. Stanton (admitted phv)
12                                                        201 E. Kennedy Blvd., Suite 1900
                                                          Tampa, FL 33602
13                                                        Telephone: (813) 421-3883
14                                                        Email: tstanton@stantoniplaw.com

15                                                        Attorneys for Plaintiff UberRE, Inc.

16
                                                          HOGAN LOVELLS US LLP
17
18                                                        By: /s/
                                                          Patrick T. Michael
19                                                        Rebecca B. Horton
                                                          Hogan Lovells US LLP
20                                                        3 Embarcadero Center, Suite 1500
                                                          San Francisco, CA 94111
21                                                        Telephone No.: (415) 374-2300
22                                                        Facsimile No.: (415) 374-2499
                                                          E-Mail:
23                                                        patrick.michael@hoganlovells.com
                                                          rebecca.horton@hoganlovells.com
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     Case No. 3:22-cv-02806-JD                        2         STIPULATED DISMISSAL WITH PREJUDICE
        Case 3:22-cv-02806-JD Document 46 Filed 08/25/22 Page 3 of 4



 1                                             Anna Kurian Shaw (Pro Hac Vice)
                                               Lauren B. Cury (Pro Hac Vice)
 2
                                               Hadley M. Dreibelbis (Pro Hac Vice)
 3                                             555 Thirteenth St., NW
                                               Washington, DC 20004
 4                                             Telephone: (202) 637-5600
                                               Facsimile No: (202) 637-5910
 5                                             Email:
 6                                             anna.shaw@hoganlovells.com
                                               lauren.cury@hoganlovells.com
 7                                             hadley.dreibelbis@hoganlovells.com

 8                                             Attorneys for Defendant Uber
                                               Technologies, Inc.
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                                                    STIPULATED DISMISSAL WITH
     Case No. 3:22-cv-02806-JD             3        PREJUDICE
        Case 3:22-cv-02806-JD Document 46 Filed 08/25/22 Page 4 of 4



 1                                            ATTESTATION
 2
            Pursuant to Civil Local Rule 5-1(h)(3) regarding signatures, I attest that the concurrence
 3
     in the filing of this Joint Request has been obtained from the other signatory.
 4
 5                                                        By: /s/
 6                                                                  Curtis Smolar

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                                                                STIPULATED DISMISSAL WITH
     Case No. 3:22-cv-02806-JD                        4         PREJUDICE
